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IN THE UNITED STATES DISTRICT COURT 54 4/°/,)€/ 4‘\_..\ 00
FOR THE WESTERN DISTRICT OF TENNES§ §§ '

EASTERN DIVISION `“4"<.>` >“”"/’»Q 4”"°‘ 39
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/o
JUDY AKERS, ) /V‘¢a€i/§?@§’
) ‘“O/V
Piaimirf, )
)
vs. ) NO. 05_1051-1
)
CoMMissroNER or )
soCIAL sECURirY, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE

 

This is an action for review of a decision of the Commissioner of Social Security
denying Plaintiff‘S application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff‘s brief m support of this appeal must be filed Within 30 days of the
date of this order.

Defendant‘s brief 1n opposition to this appeal must be filed Within 30 days after
service of Plaintiff‘s brief.

If Plaintiff Wishes to file a reply brief, such brief must be filed Within lO days after
service of Defendant' s brief.

Failure of either party to comply With this order Will result in appropriate sanctions,
Which may include consideration of the case without regard to that party's brief, or dismissal

of the action.

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Oral argument Will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

  

TED STATES DISTRICT IUDGE

%M%vs"

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:05-CV-01051 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

